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 5                          UNITED STATES DISTRICT COURT
 6                      EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                        No. 2:14-CR-021-RMP-10

 9                      Plaintiff,                  ORDER GRANTING IN PART
10 vs.                                              DEFENDANT’S MOTION TO
                                                    MODIFY AND DIRECTING
11 SAMUEL G. WARD,                                  ADDITIONAL BRIEFING
12
                Defendant.
13
14         Before the Court is Defendant’s Motion for Order Modifying Release
15   Conditions and for Expedited Hearing. ECF No. 375. Defendant seeks to travel
16   to Kootenai County, Idaho, for work purposes; to travel to Alabama to see his
17   ailing father; and removal of electronic home monitoring. Defendant’s supervising
18   U.S. Probation Officer does not object to the requested modifications; the United
19   States does not object to the requested travel, but does object to removal of
20   electronic home monitoring. Accordingly,
21         IT IS ORDERED Defendant’s Motion, ECF No. 735, is GRANTED IN
22   PART as follows:
23         1.     Defendant may travel to Kootenai County, Idaho, for work purposes.
24   Prior to travel, Defendant shall provide Pretrial Services his work schedule and
25   contact information;
26         2.     Defendant may travel to Alabama to see his ailing father at the
27   discretion of his supervising Probation Officer. Prior to travel, Defendant shall
28   provide Pretrial Services with his travel and contact information.



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 1         3.     All other terms and conditions of the Defendant’s release conditions
 2   shall remain in full force and effect, until further order of the Court.
 3         IT IS FURTHER ORDERED the parties file by July 1, 2014, at 5:00
 4   p.m., a memo stating their position on the question of Defendant continuing to
 5   wear an electronic monitoring device.
 6         If any party desires a hearing, the memo need state nothing more. The court
 7   will schedule a hearing.
 8         If a party would prefer the matter determined without a hearing, the memo
 9   should clearly state such, and also provide any information or argument pertinent
10   to the party’s position. If both parties desire the matter determined without a
11   hearing, the court will rule on the basis of the memoranda.
12         DATED June 27, 2014.
13
14                                 _____________________________________
                                             JOHN T. RODGERS
15                                  UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
